                   Case 2:20-cv-00864-RSM Document 69 Filed 09/16/20 Page 1 of 2




 1                                                      THE HONORABLE RICARDO S. MARTINEZ

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 5                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF WASHINGTON
 6                                         AT SEATTLE
 7   Fruci & Associates, PS, for itself and on behalf
     of a class of similarly situated businesses and
 8   individuals,                                         Case No. 2:20-cv-00864-RSM
                     Plaintiff,
 9

10            v.                                          ORDER APPROVING STIPULATION
                                                          TO SUBSTITUTE COUNSEL
11   A10 Capital LLC, First Interstate BancSystem,
     KeyBank N.A., Mountain West Bank, Numerica
12   Credit Union, Sound Community Bank, State
     Bank Northwest, U.S. Bank, NA, Washington
13   Trust Bank, Wells Fargo Bank, N.A.,
14   Wheatland Bank, Inc.,

15                     Defendants.

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17            The Court, having considered Defendant Wells Fargo Bank, N.A.’s (“Wells Fargo”)

18   Stipulation to Substitute Counsel, and finding good cause, hereby approves that stipulation.

19   Clifford S. Davidson and Tanya N. Lewis, and the law firm of Snell & Wilmer L.L.P., are hereby

20   SUBSTITUTED in place of Román D. Hernández of Troutman Pepper Hamilton Sanders LLP.

21            DATED this 16th day of September, 2020.

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23

24                                                RICARDO S. MARTINEZ
25                                                CHIEF UNITED STATES DISTRICT JUDGE

26
                                                                                       SNELL & WILMER
                                                                                        Attorneys at Law
                                                                                 2018 156th Avenue, NE, Ste. 100
                                                                                      Bellevue, WA 98007
     4843-0422-4201                                                                     (425) 748-5055
                Case 2:20-cv-00864-RSM Document 69 Filed 09/16/20 Page 2 of 2




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 2   Presented by:

 3
      SNELL & WILMER L.L.P.
 4

 5    By: /s/ Tanya N. Lewis
          Clifford S. Davidson, WSBA #48313
 6        Tanya N. Lewis, WSBA #31032
 7    Attorneys for Defendant Wells Fargo Bank,
      N.A.
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                                                                         SNELL & WILMER
                                                                          Attorneys at Law
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                                                                          (425) 748-5055
